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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00169 GEB
11
                                  Plaintiff,             STIPULATION AND [PROPOSED] ORDER TO
12                                                       CORRECT CLERICAL ERROR ON VERDICT
                           v.                            FORM
13
     HARJIT KAUR JOHAL,
14
                                 Defendant.
15

16

17          Plaintiff United States of America, by and through the undersigned counsel, and defendant Harjit

18 Kaur Johal, by and through defendant’s counsel of record, Gilbert A. Roque, hereby stipulate as follows:

19          1. Defendant Harjit Johal was charged in Count Seven of the Superseding Indictment with

20              making false statements before a grand jury in violation of 18 U.S.C. § 1623. ECF No. 91.

21          2. Following trial on the matter, the jury returned a verdict of guilty as to Ms. Johal. ECF No.

22              217.

23          3. The parties agree that there is a clerical error on the verdict form, which reads that Ms. Johal

24              was found guilty “AS TO COUNT EIGHT” instead of Count Seven.

25          4. The Court may correct such a clerical error under Federal Rule of Criminal Procedure 36.

26              Where, as here, the intent of the jury is clear, “[t]here is case law supporting correction of

27              judgments to reflect the intent of jurors.” United States v. Stauffer, 922 F.2d 508, 513 (9th

28              Cir. 1990). Even after the jury has been discharged, the court can correct a clerical error on


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 1            a verdict form “to reflect the jury’s true intent.” Id. at 514; see also United States v. Davis,

 2            841 F.3d 1253, 1265 (5th Cir. 2016) (concluding it was proper to amend a judgment under

 3            Rule 36 based upon “an erroneous verdict form that (a) was not objected to, (b) did not in

 4            any way confuse the jury, or, even if it did, (c) could not have possibly prejudiced the

 5            defendants”); United States v. Howard, 278 Fed. App’x 777, 778 (9th Cir. 2008) (upholding

 6            correction of verdict form containing citation error where jury was “correctly instructed on

 7            the required showings for a conviction under such statute”).

 8         5. The parties agree and stipulate, and request the Court find the following:

 9                a. From the context of this case, it is clear that the jury’s intent was to return a guilty

10                    verdict against defendant Harjit Johal as to Count Seven. At the close of the parties’

11                    cases, the parties argued the matter to the jury, specifying that Ms. Johal was charged

12                    in Count Seven. In argument, the parties distinguished between Count Seven, for

13                    which defendant Johal was on trial, and Count Eight, for which co-defendant Jasvir

14                    Kaur was on trial.

15                b. Following this argument, the Court instructed the jurors. As part of its instruction,

16                    the Court instructed the jurors that a separate crime was charged against each

17                    defendant, that the charges were joined for trial, and that the jury must determine the

18                    guilt of each defendant separately. (Instruction 15). The Court further informed the

19                    jury that its verdict on one count should not control its verdict on the other count.

20                    (Instruction 15).

21                c. The Court also instructed the jury as to the elements and specific charged false

22                    statements for each separate count for each defendant. (Instructions 16, 17). The

23                    Court unambiguously instructed the jury that defendant Johal was charged in Count

24                    Seven, and specifically articulated the charged false statements in question-answer

25                    form. (Instruction 16). The verdict form provided to the jury included the false

26                    statements listed in Instruction 16.

27                d. Comparing Instruction 16 with the verdict form demonstrates that the jury was

28                    considering the statements made by defendant Johal and not any other statements. In


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 1                     fact, the jury sent a jury note to the Court asking about the comparison between the

 2                     statements in Instruction 16 and the statements listed on the verdict form. The Court

 3                     instructed the jury that the verdict form contained the charged false statements.

 4                     Because of the use of a specific verdict form in this case, the Court can determine

 5                     with certainty that the jury intended to return a guilty verdict against defendant Harjit

 6                     Johal on Count Seven of the Superceding Indictment.

 7          6. Based upon the forgoing, the parties agree and stipulate, and request the Court to interlineate

 8             onto the first page of the verdict form for Harjit Johal the word “SEVEN” in place of the

 9             word “EIGHT,” striking the word “EIGHT,” and to sign and date the interlineation. The

10             parties agree and stipulate, and request the Court to file the amended verdict form on the

11             docket. The parties agree and stipulate, and further request that the judgment in this case

12             indicate, when filed, that defendant Harjit Johal was convicted of Count Seven of the

13             Superseding Indictment.

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15 Dated: March 28, 2017                                    PHILLIP A. TALBERT
                                                            United States Attorney
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17                                                  By: /s/ JEREMY J. KELLEY
                                                        JEREMY J. KELLEY
18                                                      Assistant United States Attorney
19

20
     Dated: March 28, 2017                                  /s/ GILBERT A. ROQUE
21                                                          GILBERT A. ROQUE
                                                            Counsel for Defendant
22
                                                            Harjit Kaur Johal
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 1             [PROPOSED] FINDINGS AND ORDER TO CORRECT CLERICAL ERROR

 2          Pursuant to the parties’ stipulation, the Court makes the following findings:

 3          1. The jury verdict form filed for defendant Harjit Kaur Johal, ECF No. 217, contains a clerical

 4              error, wherein it states the count of conviction as count “EIGHT.”

 5          2. Defendant Harjit Kaur Johal was charged in Count Seven of the Superseding Indictment.

 6              ECF No. 91.

 7          3. As evident from the Court’s instructions to the jury, the parties’ argument, and the statements

 8              listed on the verdict form itself, it is clear that the jury’s true intent was to return a guilty

 9              verdict for defendant Harjit Kaur Johal as to Count Seven of the Superseding Indictment.

10          Pursuant to Federal Rule of Criminal Procedure 36, the Court may correct a clerical error on a

11 verdict form to reflect the jury’s true intent. United States v. Stauffer, 922 F.2d 508, 513 (9th Cir. 1990).

12 The Court hereby orders the Clerk of Court to produce to the Court the verdict form for defendant Harjit

13 Kaur Johal, ECF No. 217. The Court will interlineate onto the first page of the verdict form the word

14 “SEVEN” in place of the word “EIGHT,” striking the word “EIGHT.” The Court will sign and date the

15 interlineation and file the amended verdict form on the docket. The Court hereby additionally orders

16 that the judgment for Harjit Kaur Johal shall, when filed, reflect her conviction of Count Seven of the

17 Superseding Indictment.

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20          IT IS SO FOUND AND ORDERED.
     Dated: March 29, 2017
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30    CLERICAL ERROR ON VERDICT FORM
